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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

                                                     §
  BROWSERKEY, LLC,                                   § Case No. 2:24-cv-00800-JRG-RSP
                                                     § (Lead Case)
                                 Plaintiff,          §
                                                     §
                            v.                       §
                                                     §
  WELLS FARGO BANK, N.A.,                            §
                                                     §
                                 Defendant.          §
                                                     §
                                                     §



                                              DISCOVERY ORDER



        After a review of the pleaded claims and defenses in this action, in furtherance of the

 management of the Court’s docket under Federal Rule of Civil Procedure 16, and after receiving

 the input of the parties to this action, it is ORDERED AS FOLLOWS:

 1.     Initial Disclosures. In lieu of the disclosures required by Federal Rule of Civil Procedure

        26(a)(1), each party shall disclose to every other party the following information:

        (a)    the correct names of the parties to the lawsuit;

        (b)    the name, address, and telephone number of any potential parties;

        (c)    the legal theories and, in general, the factual bases of the disclosing party’s claims

               or defenses (the disclosing party need not marshal all evidence that may be offered

               at trial);
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        (d)     the name, address, and telephone number of persons having knowledge of relevant

                facts, a brief statement of each identified person’s connection with the case, and a

                brief, fair summary of the substance of the information known by any such person;

        (e)     any indemnity and insuring agreements under which any person or entity carrying

                on an insurance business may be liable to satisfy part or all of a judgment entered

                in this action or to indemnify or reimburse for payments made to satisfy the

                judgment;

        (f)     any settlement agreements relevant to the subject matter of this action; and

        (g)     any statement of any party to the litigation.

 2.     Disclosure of Expert Testimony.1 A party must disclose to the other parties the identity

        of any witness it may use at trial to present evidence under Federal Rule of Evidence 702,

        703 or 705, and:

        (a)     if the witness is one retained or specially employed to provide expert testimony in

                the case or one whose duties as the party’s employee regularly involve giving expert

                testimony, provide the disclosures required by Federal Rule of Civil Procedure

                26(a)(2)(B) and Local Rule CV-26; and

        (b)     for all other such witnesses, provide the disclosure required by Federal Rule of Civil

                Procedure 26(a)(2)(C).




        1
         All expert reports should be written such that the report is organized with discrete
 paragraph numbers.




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 3.     Additional Disclosures. Without awaiting a discovery request,2 each party will make the

        following disclosures to every other party:

        (a)     provide the disclosures required by the Patent Rules for the Eastern District of

                Texas with the following modifications to P.R. 3-1 and P.R. 3-3:

                   i.   If a party claiming patent infringement asserts that a claim element is a

                        software limitation, the party need not comply with P.R. 3-1 for those claim

                        elements until 30 days after source code for each Accused Instrumentality

                        is produced by the opposing party. Thereafter, the party claiming patent

                        infringement shall identify, on an element-by-element basis for each

                        asserted claim, what source code of each Accused Instrumentality allegedly

                        satisfies the software limitations of the asserted claim elements.

                  ii.   If a party claiming patent infringement exercises the provisions of

                        Paragraph 3(a)(i) of this Discovery Order, the party opposing a claim of

                        patent infringement may serve, not later than 30 days after receipt of a

                        Paragraph 3(a)(i) disclosure, supplemental “Invalidity Contentions” that

                        amend only those claim elements identified as software limitations by the

                        party claiming patent infringement.

        (b)     produce or permit the inspection of all documents, electronically stored

                information, and tangible things in the possession, custody, or control of the party

                that are relevant to the pleaded claims or defenses involved in this action, except to




        2
          The Court anticipates that this disclosure requirement will obviate the need for requests
 for production.



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              the extent these disclosures are affected by the time limits set forth in the Patent

              Rules for the Eastern District of Texas; and

       (c)    provide a complete computation of any category of damages claimed by any party

              to the action, and produce or permit the inspection of documents or other

              evidentiary material on which such computation is based, including materials

              bearing on the nature and extent of injuries suffered, except that the disclosure of

              the computation of damages may be deferred until the time for Expert Disclosures

              if a party will rely on a damages expert.

 4.    Protective Orders. The Court will enter the parties’ Agreed Protective Order.

 5.    Discovery Limitations. The discovery in this case is limited to the disclosures described

       in Paragraphs 1-3 together with:

       (a)    Definitions. For purposes of this Paragraph, “Plaintiff” refers to BrowserKey, LLC.

              For purposes of this Paragraph, “Defendants” refers to Bank of America

              Corporation (“BAC”), Bank of America, N.A. (“BANA”), Merrill Lynch, Pierce,

              Fenner & Smith Incorporated (“Merrill”) (collectively, the “Bank of America

              Defendants”); and Wells Fargo Bank, N.A. (the “Wells Fargo Defendant”). For

              purposes of this Paragraph, “Side” means a party or group of parties with a common

              interest with respect to this lawsuit, with one Side consisting of at least Plaintiff and

              another side consisting of at least Defendants. For purposes of this Paragraph,

              Defendant Group is defined as those defendants who are related corporate entities

              (e.g., Bank of America Defendants; and Wells Fargo Defendant).

       (b)    Interrogatories. Plaintiff may serve up to twenty-five (25) interrogatories on each

              Defendant Group. Each Defendant Group may serve up to twenty-five (25)




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             interrogatories on Plaintiff, consisting of up to fifteen (15) joint interrogatories

             served by all Defendants, and up to ten (10) individual interrogatories for each

             Defendant Group. The parties agree to provide initial answers to interrogatories in

             good faith and to the extent not objected to within thirty (30) days of receipt.

       (c)   Requests for Admission. Plaintiff may serve 40 requests for admissions on each

             Defendant Group. Each Defendant Group may serve 40 requests for admissions on

             Plaintiff. Requests that a party admit to the authenticity/admissibility of a document

             or thing that party produced shall not count against the total requests for admission;

             such requests for admission must be clearly labelled as relating to

             authentication/admissibility; the parties are required to meet and confer in good

             faith prior to serving any such request for admission, and specifically to consider a

             stipulation regarding authentication/admissibility as an alternative to use of such

             requests for admission.

       (d)   Party Depositions. Plaintiff may take up to thirty (45) total hours of deposition

             testimony of each Defendant Group, inclusive of both depositions under Rule

             30(b)(1) and Rule 30(b)(6). Each Defendant Group may take up to thirty (45) total

             hours of deposition testimony of Plaintiff, including depositions under both Rule

             30(b)(1) and Rule 30(b)(6). Depositions of experts or third parties do not count

             against these limits. For party witnesses, no more than seven (7) hours of fact

             deposition shall be taken of any natural person deposed in his or her personal

             capacity (i.e., not as a designee of an entity under Fed. R. Civ. P. 30(b)(6)). Each

             natural person providing deposition testimony in his or her capacity as a designee

             of an entity under Fed. R. Civ. P. 30(b)(6) shall simultaneously testify as to




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             information within his or her personal knowledge. No more than seven (7) hours of

             fact deposition may be taken of one person in one day without the consent of the

             deponent. The parties shall meet and confer in good faith to schedule depositions

             under Fed. R. Civ. P. 30(b)(6) at a time and place that is convenient for the deponent

             and the parties. Furthermore, the parties shall reasonably coordinate depositions to

             minimize duplication but the parties are not required to take depositions at the same

             time. Defendant’s Proposal: In the event Defendant Groups take a deposition

             together, either Defendant Group may rely on testimony regardless of the

             Defendant Group who elicited such testimony. Defendant Group shall be charged

             only for the time that Defendant Group’s counsel is questioning the deponent. To

             the extent both Defendant Groups take a deposition together, in no event shall that

             deposition last more than seven (7) hours.

       (e)   Expert Depositions. An expert who submits a report or declaration on behalf of

             either Plaintiff or a Defendant Group may be deposed for 7 hours by the opposing

             Side regarding each such report or declaration, subject to the following

             qualifications:

             a.     Multiple Topics: An expert who submits a report on more than one topic

                    (e.g., infringement and validity) is subject to a separate deposition on each

                    topic. For example, if a Party uses the same expert but submits one report

                    on two different topics (such as, one relating to infringement as to one

                    Defendant Group and one relating to invalidity), then the other Side shall

                    be entitled to fourteen (14) total hours of deposition of that expert (still

                    limited to seven (7) hours per report).




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               b.     Infringement/Noninfringement/Damages/Other Individual Topic: Each

                      expert may be deposed for up to seven (7) hours per Defendant, except that

                      if an expert report addresses more than one Defendant in a Defendant

                      Group, such expert may be deposed for one-and-a-half (1.5) additional

                      hours per additional Defendant, up to ten (10) hours per Defendant Group.

        (f)    Third-Party Depositions. The parties may conduct third -party discovery including

               depositions and document subpoenas. Each Side shall be limited to sixty (60) hours

               of third-party depositions (including inventors). The parties may serve as many

               depositions on written questions of custodians of business records of third-parties,

               as needed.

        (g)    Remote Depositions. Depositions may be conducted virtually, through remote

               video, if both parties consent.

        (h)    Interpretation. If an interpreter is necessary for a deposition, that witness may be

               deposed for an additional amount of time up to one-half of the deposition time. The

               limitation on the maximum hours any deponent may be deposed in one day still

               applies though; a deposition requiring longer than seven (7) actual hours shall

               continue to the next day unless otherwise agreed by the parties.

        (i)    E-Discovery. To the extent that the parties believe entry of an Order Regarding E-

               Discovery in Patent Cases is appropriate, the parties will submit such an order to

               the court, which will govern all discovery and production of Electronically Stored

               Information.

 Any party may later move to modify these limitations for good cause.




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 6.    Privileged Information. There is no duty to disclose privileged documents or

       information. However, the parties are directed to meet and confer concerning privileged

       documents or information after the Status Conference. By the deadline set in the Docket

       Control Order, the parties shall exchange privilege logs identifying the documents or

       information and the basis for any disputed claim of privilege in a manner that, without

       revealing information itself privileged or protected, will enable the other parties to assess

       the applicability of the privilege or protection. Any party may move the Court for an order

       compelling the production of any documents or information identified on any other party’s

       privilege log. If such a motion is made, the party asserting privilege shall respond to the

       motion within the time period provided by Local Rule CV-7. The party asserting privilege

       shall then file with the Court within 30 days of the filing of the motion to compel any proof

       in the form of declarations or affidavits to support their assertions of privilege, along with

       the documents over which privilege is asserted for in camera inspection. However, if the

       party asserting privilege seeks an in camera review by the Court, such party shall first

       obtain leave from the Court prior to delivery of documents to the Court.

 7.    Signature. The disclosures required by this Order shall be made in writing and signed by

       the party or counsel and shall constitute a certification that, to the best of the signer’s

       knowledge, information and belief, such disclosure is complete and correct as of the time

       it is made. If feasible, counsel shall meet to exchange disclosures required by this Order;

       otherwise, such disclosures shall be served as provided by Federal Rule of Civil Procedure

       5. The parties shall promptly file a notice with the Court that the disclosures required under

       this Order have taken place.




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 8.    Duty to Supplement. After disclosure is made pursuant to this Order, each party is under

       a duty to supplement or correct its disclosures immediately if the party obtains information

       on the basis of which it knows that the information disclosed was either incomplete or

       incorrect when made, or is no longer complete or true.

 9.    Discovery Disputes.

       (a)    Except in cases involving claims of privilege, any party entitled to receive

              disclosures (“Requesting Party”) may, after the deadline for making disclosures,

              serve upon a party required to make disclosures (“Responding Party”) a written

              statement, in letter form or otherwise, of any reason why the Requesting Party

              believes that the Responding Party’s disclosures are insufficient. The written

              statement shall list, by category, the items the Requesting Party contends should be

              produced. The parties shall promptly meet and confer. If the parties are unable to

              resolve their dispute, then the Responding Party shall, within 14 days after service

              of the written statement upon it, serve upon the Requesting Party a written

              statement, in letter form or otherwise, which identifies (1) the requested items that

              will be disclosed, if any, and (2) the reasons why any requested items will not be

              disclosed. The Requesting Party may thereafter file a motion to compel.

       (b)    An opposed discovery related motion, or any response thereto, shall not exceed 7

              pages. Attachments to a discovery related motion, or a response thereto, shall not

              exceed 5 pages. No further briefing is allowed absent a request or order from the

              Court.

       (c)    Prior to filing any discovery related motion, the parties must fully comply with the

              substantive and procedural conference requirements of Local Rule CV-7(h) and (i).




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              Within 72 hours of the Court setting any discovery motion for a hearing, each

              party’s lead attorney (see Local Rule CV-11(a)) and local counsel shall meet and

              confer in person or by telephone, without the involvement or participation of other

              attorneys, in an effort to resolve the dispute without Court intervention.

       (d)    Counsel shall promptly notify the Court of the results of that meeting by filing a

              joint report of no more than two pages. Unless excused by the Court, each party’s

              lead attorney shall attend any discovery motion hearing set by the Court (though

              the lead attorney is not required to argue the motion).

       (e)    Any change to a party’s lead attorney designation must be accomplished by motion

              and order.

       (f)    Counsel are directed to contact the chambers of the undersigned for any “hot-line”

              disputes before contacting the Discovery Hotline provided by Local Rule CV-

              26(e). If the undersigned is not available, the parties shall proceed in accordance

              with Local Rule CV-26(e).

 10.   No Excuses. A party is not excused from the requirements of this Discovery Order because

       it has not fully completed its investigation of the case, or because it challenges the

       sufficiency of another party’s disclosures, or because another party has not made its

       disclosures. Absent court order to the contrary, a party is not excused from disclosure

       because there are pending motions to dismiss, to remand or to change venue.

 11.   Filings. Only upon request from chambers shall counsel submit to the court courtesy

       copies of any filings.

 12.   Proposed Stipulations by the Parties Regarding Discovery.




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       (a)   Non-Waiver of Privilege. Pursuant to Fed. R. Evid. 502(d), a party’s inadvertent

             production of materials covered by the attorney-client privilege, work-product

             protection, common interest privilege, or similar privilege or exemption from

             discoverability is not a waiver in the pending case or any other federal or state

             proceeding. For example, the mere production of privileged or work-product

             protected documents in this case as part of a larger production is not itself a waiver

             in this case or any other federal or state proceeding. A producing party may assert

             privilege or work product protection over any produced materials after becoming

             aware of the production by notifying the receiving party of the assertion of privilege

             or protection in writing. For any document produced for which such notice is given,

             the producing party must promptly supply a privilege log supporting the claim of

             privilege with respect to the materials at issue, thereby enabling the receiving party

             to dispute the assertion of privilege or protection in accordance with Paragraph 6

             above. In response to such notice, the receiving party shall promptly return and/or

             destroy the produced materials, and destroy any copies and/or work product created

             from such materials, within at most three (3) days.

       (b)   Privilege Logs. The parties agree that, except as provided in Paragraph 12(a)

             above, the parties shall not be required to log any privileged document or

             communication created on or after October 2, 2024 (the filing date of the Original

             Complaint in this case). This agreement shall not preclude either party from filing

             a motion to compel a privilege log of documents or information otherwise subject

             to this clause, or the parties from modifying this exclusion by mutual agreement.




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             The parties reserve the right to seek discovery relating to communications created

             before the filing of this lawsuit.

       (c)   Service by Electronic Mail. The parties will make every effort to serve all

             documents electronically, including by e-mail, by FTP, by other file transfer service

             or through ECF. The parties will make every effort to serve electronically all

             documents filed under seal within two (2) hours of filing. Parties may serve all

             documents by e-mail on another party by sending the documents to the email group

             address designated by a party, or if no such group is designated, to email address

             for all counsel of record for the party. Documents are timely served by e-mail

             where the e-mail is sent by 11:59 p.m. Central Time on the date due. Per Local

             Rule CV-5(d), documents e-mailed after 5:00 p.m. Central Time shall be deemed

             served on the following day for purposes of calculating a response date to the

             document served.

       (d)   Third Party Discovery. A party who intends to serve a subpoena on a third party in

             this matter shall serve a notice and a copy of the subpoena on each other party,

             before it is served on the person to whom the subpoena is directed. A party who

             receives documents from a third party pursuant to a subpoena will endeavor in good

             faith to reproduce those documents to the other party within three (3) business days.

             If reproduction of documents within 3 business days is not reasonably practicable,

             the party who received the documents will provide prompt notice to the other party

             (within 3 business days) and will work in good faith to resolve the issue on a case-

             by-case basis. The parties agree to consult and coordinate with each other in good

             faith before scheduling any third-party deposition or inspection.




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       (e)    Discovery of Expert Materials. The parties agree that the protections provided in

              Fed. R. Civ. P. 26(b)(4)(B) and (C) will apply equally to expert declarations as they

              do to expert reports, including both drafts of declarations and communications

              related to declarations. Pursuant to Fed. R. Civ. P. 26(b)(4), draft expert reports,

              outlines, notes, and any other writings leading up to an expert’s final report(s) are

              exempt from discovery. In addition, all communications with and all materials

              generated by an expert with respect to his or her work on this action are exempt

              from discovery unless considered by the expert in forming his or her opinions. The

              materials exempt from discovery listed in this subsection do not need to be logged

              in a privilege log. If an expert produces a report, the expert must produce his or her

              final report and, within two days of service of each report, a copy of all materials

              which the expert relied on, to the extent they have not already been produced.

       (f)    E-Discovery. The parties shall meet and confer regarding discovery of

              Electronically Stored Information (ESI), and shall submit a proposed e-discovery

              order within thirty (30) days after the scheduling conference.

 13.   Standing Orders. The parties and counsel are charged with notice of and are required to

       fully comply with each of the Standing Orders of this Court. Such are posted on the Court’s

       website at http://www.txed.uscourts.gov/?q=court-annexed-mediation-plan. The substance

       of some such orders may be included expressly within this Discovery Order, while others

       (including the Court’s Standing Order Regarding Protection of Proprietary and/or

       Confidential Information to Be Presented to the Court During Motion and Trial Practice)

       are incorporated herein by reference. All such standing orders shall be binding on the




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       parties and counsel, regardless of whether they are expressly included herein or made a

       part hereof by reference.
        SIGNED this 3rd day of January, 2012.
        SIGNED this 5th day of February, 2025.




                                                      ____________________________________
                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE




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